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  SO ORDERED.

  SIGNED this 28 day of November, 2017.


                                                            ___________________________________________
                                                                      Stephani W. Humrickhouse
                                                                    United States Bankruptcy Judge
  ____________________________________________________________________________
 _________________________________________________________________________
                        UNITED STATES BANKRUPTCY COURT
                                    Eastern District of North Carolina
                                          Wilmington Division



  IN RE:                                                           CASE NO.:

           FRINK, JOYCE ANN                                        16-0093-5-SWH

           DEBTOR(S)                                               CHAPTER 7

                         ORDER ALLOWING MOTION TO WITHDRAW

          For the reasons stated in the motion, and for good cause shown, it is hereby ordered that
  Christopher D. Lane’s Motion to Withdraw is GRANTED.




                                          “END OF DOCUMENT”
